Case 2:13-cv-07555-MWF-JC Document 18 Filed 02/19/14 Page 1 of 2 Page ID #:122




   1                                          JS-6
   2
   3
   4
   5
   6
   7
   8
                               UNITED STATES DISTRICT COURT
   9
                CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 10
 11
    POM WONDERFUL LLC, a Delaware                  Case No. CV13-07555 MWF JCx
 12 limited liability company,
                                                   ORDER GRANTING STIPULATED
 13                   Plaintiff,                   DISMISSAL OF CASE
 14             vs.
 15 AMERICAN DAIRY QUEEN
    CORPORATION, a Delaware
 16 corporation; ORANGE JULIUS OF
    AMERICA, a Delaware corporation,
 17 and DOES 1 through 10, inclusive,
 18                   Defendants.
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
       {082939.1}
                              ORDER GRANTING STIPULATED DISMISSAL OF CASE
Case 2:13-cv-07555-MWF-JC Document 18 Filed 02/19/14 Page 2 of 2 Page ID #:123




   1            Based on Plaintiff POM WONDERFUL LLC and Defendants AMERICAN
   2 DAIRY QUEEN CORPORATION and ORANGE JULIUS OF AMERICA’s
   3 Stipulation for Dismissal, it hereby ordered that:
   4            Pursuant to a settlement agreement entered into by the Parties, all claims are
   5 dismissed with prejudice, with each party bearing its own fees and costs.
   6            IT IS SO ORDERED.
   7
   8
   9 DATED: February 19, 2014             By: ________________________________
                                               The Honorable Michael W. Fitzgerald
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
       {082939.1}                                   1
                              ORDER GRANTING STIPULATED DISMISSAL OF CASE
